~ 4/21/25, 1:22 PM CASE 0:24-cv-04452-JRT-JF DahooMeic REGPaviovsity Erpntiery bxtgpsion §=Page 1 of 2

RE: Pavlovski v. Frontier; Extension

From: Kurt C. Schlueter (kurt.schlueter@fitzhunt.com)

To: darko_730@yahoo.com

Cc: brian.maye@fitzhunt.com; michelle.brady@fitzhunt.com; kathleen.argus@fitzhunt.com
Date: Monday, April 21, 2025 at 12:05 PM CDT

Hi Darko —

Thanks for the response and for the courtesy of an extension. We are good with the May dates
you propose below, and we will not object if you choose to file a second amended complaint.

-Kurt

Kurt C. Schlueter C ee
Partner ee oN

Fitzpatrick, Hunt

réed \)
& Pagano, LLP ver
OFT an’
ys
10 South LaSalle Street
Suite 3400

Chicago, IL 60603

Direct: 312-728-4810

Fax: 312-728-4950

Email: Kurt.Schlueter@fitzhunt.com
Web: www.fitzhunt.com

New York California New Jersey Connecticut

Tower 49 US Bank Tower Forrestal Village 1 Landmark Square
Twelve East 49th Street 633 West Fifth Street 116 Village Boulevard 21st Floor

34th Floor 60th Floor Suite 200 Stamford, CT 06901
New York, NY 10017 Los Angeles, CA 90071 Princeton, NJ 08540 (203) 580-4000
(212) 937-4000 (213) 873-2100 (609) 606-6940

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destroy the communication. Thank you

From: Darko Paviovski <darko_730@yahoo.com>

Sent: Monday, April 21, 2025 8:31 AM

To: Kurt C. Schlueter <Kurt.Schlueter@fitzhunt.com>

Cc: Brian Maye <brian.maye@fitzhunt.com>; Michelle Brady <michelle.brady@fitzhunt.com>; Kathleen
Argus <kathleen.argus@fitzhunt.com>

Subject: Re: Paviovski v. Frontier; Extension

This Message originated from outside the Firm.

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~ 421/25, 1:22 PM CASE 0:24-cv-04452-JRT-JF[ahoo Majic REEPaviovsiry| Ergntjet/Edgneion §=Page 2 of 2

Hi Kurt,

Whatever your reason/need is, | do believe in interest of justice, extension should be freely granted. Above of all,
the truth is one, and cannot be banded.

Therefore, | am ok with allowing you 30 days extension (as | calculate, your current filling deadline is on April 25th,
2025), as long as that justice/favor is returned to me as well. Precisely, Rule 15 (2) says that other amendments
can be filled with opposing party's written consent. Therefore, I'm requesting consent to file new Second Amended
Complaint along with new Brief/Exhibits/Affidavits. To compound my time for filling we'll use the same Rule 15,
subdivision (3); which states that time for response on amended complaint is 14 days. So, the Civil Procedure has
calculated the time of 14 days as enough to respond on an amended complaint. Therefore, my time for filling will
be 14 days backdated from your extension.

To conclude, your new time for filling will be May 26th (Monday), 2025, while my deadline for filling any amended
complaint will be May 12th, 2025.

Please confirm that you agree with the above in writing, especially write that you agree to allow me to file second
Amended Complaint on or before May 12th, 2005, and | will notify the Court of our agreement.

Thank you very much for your attention!

Yours sincerely,
Darko Pavlovski

On Friday, April 18, 2025 at 04:12:11 PM CDT, Kurt C. Schlueter <kurt.schlueter@fitzhunt.com> wrote:

Hi Darko-

It was nice speaking with you today.

As we discussed, you will consider granting us a 30-day extension to respond to your complaint and let us know
on Monday. We will of course grant you a reciprocal extension for any deadline within that 30 days that may be
affected by the extension (although, as | mentioned on the call, | can’t think of any at this time). | look forward to
hearing from you.

Until then, | hope you have a great weekend.

-Kurt

Kurt C. Schlueter
Partner

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